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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             LAREDO DIVISION


 CELIA MARTINEZ, and                        §
 BELINDA FLORES                             §
                                            §
 v.                                         § Civil Action No.
                                            § JURY DEMANDED
                                            §
 DANIEL JOSEPH SCHAEFER,                    §
 THE UNITED STATES OF AMERICA,              §
 and U.S. CUSTOMS AND                       §
 BORDER PROTECTION                          §

                         PLAINTIFFS’ ORIGINAL COMPLAINT

 TO THE HONORABLE COURT:

        COME NOW Plaintiffs, Celia Martinez (“Martinez”) and Belinda Flores

 (“Flores”), and file this Original Complaint against Defendants Daniel Joseph Schaefer

 (“Schaefer”), The United States of America (“USA”), and U.S. Customs and Border

 Protection (“Border Patrol”), and would show the Court as follows:

                           A. PARTIES AND SERVICE

      1.     Plaintiff, Celia Martinez, is an individual and resident of Laredo, Webb

County, Texas.

      2.     Plaintiff, Belinda Flores, is an individual and resident of Laredo, Webb

County, Texas.

      3.     Defendant, Daniel Joseph Schaefer, an individual and a citizen of the

State of Texas, may be served with process at 128 Cimarron Creek, Boerne, Texas

78006, or wherever he may be found.
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         4.   Defendant, the United States of America may be served by delivering a

copy of the summons and of the complaint to the United States Attorney for the

Western District of Texas at 111 East Broadway, Room A306, Del Rio, Texas 78840;

and by sending a copy of the summons and complaint by certified mail to the Attorney

General of the United States at 950 Pennsylvania Avenue NW, Washington, D.C.

20530.

         5.   Defendant, U.S. Customs and Border Protection, an agency of the United

States of America, may be served by serving the United States through delivering a copy

of the summons and of the complaint to the United States Attorney for the Southern

District of Texas at P.O. Box 1179, Laredo, Texas 78042; and by sending a copy of the

summons and complaint by certified mail to the Attorney General of the United States

at 950 Pennsylvania Avenue NW, Washington, D.C. 20530.

                            B. JURISDICTION & VENUE

         6.   The incident giving rise to this lawsuit occurred in Webb County,

Texas, which is within the geographical confines of the Southern District of Texas.

Accordingly, venue is proper in the Southern District of Texas.

         7.   The Court has jurisdiction over the lawsuit because the suit arises

under 28 U.S.C. §2671 et seq., and Plaintiff’s claims have been finally denied by the

agency involved.

         8.   Venue is proper in this district under 28 U.S.C. §1391(e)(1)(B) because a

substantial part of the events and omissions giving rise to the claim occurred in this

district.
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      9.     Additionally, this action is based upon the Federal Tort Claims Act of

August 2, 1946. 60 Stat 843; USCA, Title 28 §§134(b), 2671, et.seq.

                              C. CONDITIONS PRECEDENT

      10.    A claim was presented by Plaintiffs pursuant to the Federal Tort Claims

 Act to The U.S. Department of Justice, Department of Homeland Security - Bureau of

 Citizenship and Immigration Services, Border Patrol, claiming liability for personal

 injuries sustained by Plaintiffs, Celia Martinez and Belinda Flores, for which this action

 is commenced and the claims were formally denied.

      11.    All conditions precedent to the filing of this complaint have been

 performed and occurred.

                                        D. FACTS

      12.    All of the facts and assertions herein are based on information and belief.

      13.    Plaintiffs suffered severe injuries in a collision when they were struck

from behind as a result of the chain collision which began when the Border Patrol vehicle

driven by Schaefer, collided into a non-party vehicle. The collision occurred on April

7, 2015, in the 2400 block of Monarch Drive in Webb County, Texas.

      14.     Schaefer was driving west on Monarch Drive.           Schaefer, operating a

Border Patrol vehicle and on-duty at the time, failed to control his speed and/or was

inattentive when he collided into Miguel Angel Garcia (a non-party) who was stopped

behind Plaintiffs at the time of the impact. The collision caused Miguel Angel Garcia's

vehicle to be propelled forward, striking Plaintiffs from the rear while they were also

properly stopped in observance of the posted stop sign. Plaintiffs were unable to avoid
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the collision as they were unaware of the chain of events occurring behind them and were

unable to proceed into live traffic when unsafe to do so. After investigating the incident,

the police assigned all fault for causing the subject crash to Schaefer’s acts/omissions,

including the fact that he “failed to control speed.”

       15.    As a result of Schaefer’s negligence, Plaintiffs suffered serious personal

injuries and damages as set forth in the damages section below.

                E. COUNT 1 - NEGLIGENCE AGAINST SCHAEFER

       16.    Schaefer had a duty to exercise that degree of care on the occasion in

question that a reasonable and prudent person would have exercised under the same or

similar circumstances and wholly failed to do so, thus breaching the duty owed to

Plaintiffs which proximately caused the occurrence in question and Plaintiffs’ resulting

injuries and damages.

       17.    Plaintiffs’ injuries were proximately caused by Schaefer’s negligent,

careless and reckless disregard of this duty. The negligent, careless and reckless

disregard of the duty owed to Plaintiffs by Schaefer consisted of, but is not limited to, the

following acts and omissions:

       a.     In failing to keep such lookout as a person of ordinary prudence would
              have kept under the same or similar circumstances;
       b.     In failing to timely apply the brakes to his vehicle in order to avoid the
              collision in question:
       c.     In failing to take proper evasive action and avoid the collision in question;
       d.     In failing to control the speed of his vehicle to avoid the collision in
              question;
       e.     In driving at a speed greater than was reasonable and prudent under the
              circumstances then existing, driving at a speed greater than was reasonable
              and prudent under the conditions and having regard for actual and potential
              hazards then existing, failing to control the speed of the vehicle as
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              necessary to avoid colliding with another person or vehicle that is on or
              entering the highway in compliance with law and the duty of each person to
              use due care, and/or failing to drive at an appropriate reduced speed when a
              special hazard existed with regard to traffic, including pedestrians, or
              weather or highway conditions, in violation of Section 545.351 of the TEXAS
              TRANSPORTATION CODE, which constitutes negligence and negligence per se;
      f.      In failing to maintain a clear and reasonable distance between the non-
              party motor vehicle and Schaefer’s motor vehicle which would permit
              Schaefer to bring his motor vehicle to a safe stop without colliding into the
              non-party motor vehicle, in violation of TEXAS TRANSPORTATION CODE
              §545.062, which constitutes negligence and negligence per se;
      g.      In failing to maintain attention while driving as a reasonable prudent
              person would have done; and,
      h.     In driving his vehicle in willful or wanton disregard for the safety of other
              persons in violation of §545.401 of the TEXAS TRANSPORTATION CODE,
              which constitutes negligence and negligence per se.
                     F. COUNT 2 - RESPONDEAT SUPERIOR

      18.    At the time of the occurrence of the act in question and immediately prior

thereto, Schaefer was acting within the course and scope of employment and discharging

his official duties as an agent for Defendants, The United States Of America and the U.S.

Customs and Border Protection, Office of Border Patrol.

      19.    At the time of the occurrence of the act in question and immediately prior

thereto, Schaefer was engaged in the furtherance of his official duties for Defendants,

The United States Of America and the U.S. Customs and Border Protection, Office of

Border Patrol.

      20.    At the time of the occurrence of the act in question and immediately prior

thereto, Schaefer was engaged in accomplishing a task for Defendants, The United States

Of America and the U.S. Customs and Border Protection, Office of Border Patrol for

which Schaefer was employed.

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              G. DAMAGES FOR PLAINTIFF – CELIA MARTINEZ

      21.    As a direct and proximate cause of the occurrence made the basis of this

lawsuit, Martinez was caused to and did suffer personal injuries and damages as follows:

      a.     Reasonable medical care and expenses in the past. These expenses were
             incurred by Martinez for the necessary care and treatment of the injuries
             resulting from the incident complained of herein and such charges are
             reasonable and were usual and customary charges for such services;

      b.     Reasonable and necessary medical care and expenses which will in all
             reasonable probability be incurred in the future;

      c.     Physical pain and suffering in the past;

      d.     Physical pain and suffering in the future;

      e.     Physical impairment in the past;

      f.     Physical impairment which, in all reasonable probability, will be suffered
             in the future;

      g.     Disfigurement in the past;

      h.     Disfigurement in the future;

      i.     Mental anguish in the past; and,

      j.     Mental anguish in the future.

      22.    These amounts are to be determined by the jury.

              H. DAMAGES FOR PLAINTIFF – BELINDA FLORES

      23.    As a direct and proximate cause of the occurrence made the basis of this

lawsuit, Flores was caused to and did suffer personal injuries and damages as follows:

      a.     Reasonable medical care and expenses in the past. These expenses were
             incurred by Flores for the necessary care and treatment of the injuries
             resulting from the incident complained of herein and such charges are
             reasonable and were usual and customary charges for such services;
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      b.     Reasonable and necessary medical care and expenses which will in all
             reasonable probability be incurred in the future;

      c.     Physical pain and suffering in the past;

      d.     Physical pain and suffering in the future;

      e.     Physical impairment in the past;

      f.     Physical impairment which, in all reasonable probability, will be suffered
             in the future;

      g.     Disfigurement in the past;

      h.     Disfigurement in the future;

      ii.    Mental anguish in the past; and,

      k.     Mental anguish in the future.

      24.    These amounts are to be determined by the jury.

                                      I. PRAYER

      25.     For these reasons, Plaintiffs seek judgment against Defendants, jointly

and severally, for the following damages:

              a)    Actual damages in the just and reasonable sum in an amount in
                    excess of Seventy-Five Thousand Dollars ($75,000.00);

              b)     Prejudgment and post judgment interest at the maximum legal rate;

              c)     Costs of suit; and,

              d)     All other relief the Court deems appropriate.




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                              Respectfully Submitted,

                               /s/ Damond K. Garza
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                              CELIA MARTINEZ and
                              BELINDA FLORES




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